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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA


                                    CIVIL MINUTES – GENERAL
                                            AMENDED
Case No.   LA ML19-2905 JAK (FFMx)                                      Date   January 25, 2021
Title      In Re: ZF-TRW Airbag Control Units Products Liability Litigation




Present: The Honorable          JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

             T. Jackson (video)                                  Lisa Gonzalez (video)
                Deputy Clerk                                   Court Reporter / Recorder
        Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                 See attached                                         See attached


Proceedings:          DEFENDANTS’ JOINT MOTION TO DISMISS PLAINTIFFS’
                      CONSOLIDATED CLASS ACTION COMPLAINT (DKT. 208)

                      ZF DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ CONSOLIDATED
                      CLASS ACTION COMPLAINT (DKT. 209)

                      MOTION TO DISMISS CONSOLIDATED CLASS ACTION COMPLAINT BY
                      DEFENDANTS MITSUBISHI MOTORS NORTH AMERICA, INC., AND
                      MITSUBISHI MOTORS CORPORATION (DKT. 212)

                      HONDA DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
                      CONSOLIDATED CLASS ACTION COMPLAINT (DKT. 213)

                      TOYOTA MOTOR CORPORATION’S MOTION TO DISMISS FOR LACK OF
                      PERSONAL JURISDICTION PURSUANT TO RULE 12(B)(2) AND TOYOTA
                      DEFENDANTS’ MOTION TO DISMISS PURSUANT TO 12(B)(6) (DKT. 214)

                      DEFENDANTS HYUNDAI MOTOR COMPANY, LTD., HYUNDAI MOTOR
                      AMERICA, INC., KIA MOTORS CORPORATION, AND KIA MOTORS
                      AMERICA, INC.’S MOTION TO DISMISS THE CONSOLIDATED CLASS
                      ACTION COMPLAINT (DKT. 219)

                      DEFENDANTS HYUNDAI MOBIS CO., LTD., AND MOBIS PARTS
                      AMERICA, LLC’S MOTION TO DISMISS THE CONSOLIDATED CLASS
                      ACTION COMPLAINT PURSUANT TO FEDERAL RULES OF CIVIL
                      PROCEDURE 12(B)(2) AND 12(B)(6) (DKT. 220)

                      FCA US LLC’S AND FIAT CHRYSLER AUTOMOBILES N.V’S MOTION TO
                      DISMISS CONSOLIDATED CLASS ACTION COMPLAINT (DKT. 230)




                                                                                           Page 1 of 2
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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA ML19-2905 JAK (FFMx)                                       Date    January 25, 2021
 Title       In Re: ZF-TRW Airbag Control Units Products Liability Litigation

                        DEFENDANTS STMICROELECTRONICS, INC., STMICROELECTRONICS,
                        N.V., AND STMICROELECTRONICS INTERNATIONAL, N.V.’S MOTION
                        TO DISMISS THE CONSOLIDATED CLASS ACTION COMPLAINT
                        (DKT. 241)

                        MOTION TO STAY PENDING BASED ON PRIMARY JURISDICTION AND
                        TO SEVER PURSUANT TO F.R.C.P. RULE 21 (DKT. 272)

                        MOTION TO DISMISS CONSOLIDATED CLASS ACTION COMPLAINT
                        (DKT. 280)


The motion hearing is held. Counsel, the Court, and court staff all appear in that manner. Plaintiffs’
counsel represents to the Court that all members of plaintiffs' steering committee are present.
Defendants’ counsel makes a similar representation. The Court informs the parties that any recording
or re-broadcasting of the proceedings is strictly prohibited.

Counsel address the Court. The Court takes the Motions UNDER SUBMISSION and rulings will be
issued.




IT IS SO ORDERED.


                                                                                       2    :        09

                                                          Initials of Preparer    TJ



                                                                                                Page 2 of 2
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  MDL 19-2905: Counsel



   LIAISON COUNSEL FOR                     LIAISON COUNSEL FOR
   PLAINTIFFS:                             DEFENDANTS:
                                           Mark C. Holscher
   Co-Lead counsel/Co-Chairs of PSC:       Jason Wilcox
                                           Judson D. Brown
   Plaintiffs’ Steering Committee          Matthew T. Regan
   (“PSC”):                                Michael A. Glick
   Joseph H. Meltzer                       Tammy A. Tsoumas
   Lesley E. Weaver
   W. Daniel “Dee” Miles, III
   Angelica Ornelas
   Gayle M. Blatt
   Rosemary M. Rivas
   Tina Wolfson
   Mark Dearman
   Peter Prieto
   Matthew Weinshall

   Liaison Counsel:
   Jonathan K. Levine


   Hernandez, Michael et al. (19-00782):   ZF Friedrichshafen AG (19-04256, 19-
   David B. Fernandes, Jr.                 07608, 19-00970, 19-06895, 19-06894, 19-
   David S. Stellings                      07292, 19-00963:
   John T. Nicolaou
   Adam M. Tamburelli
   Roland K. Tellis
   Phong-Chau G. Nguyen
   Katherine McBride

   Altier, Mark D. et al. (19-00846):      ZF TRW Automotive Holdings Corp.
   Melissa L. Troutner                     (19-04256, 19-06895, 19-06900, 19-07153,
                                           19-06200, 19-07608, 19-00970, 19-00963,
                                           19-01154; 19-01403, 19-01566, 19-01292):

   Bell, William et al. (19-00963):        ZF Automotive US Inc. fka TRW
   Stephen N. Zack                         Automotive, Inc. (19-04256, 19-07608, 19-
   Ryan Witte                              00846, 19-00970, 19-06895, 19-06894, 19-
                                           07292, 19-00963):
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   Bliss, James F. et al. (19-00970):        ZF Active Safety and Electronics US,
   Michael R. Cashman                        LLC fka TRW Automotive U.S. LLC (19-
   Richard M. Hagstrom                       04256, 19-07153, 19-07292, 19-07608, 19-
                                             00846, 19-00970, 19-00963):

   McFadden, Carolyn (19-01154):             ZF Passive Safety Systems US, Inc. fka
                                             TRW Vehicle Safety Systems, Inc.. (19-
                                             04256, 19-07608, 19-00970, 19-06895, 19-
                                             06894, 19-06900, 19-07292, 19-00963):

   Carroll, James et al. (19-01155):         Honda Motor Co., Ltd. (19-04256, 19-
                                             00846, 19-00970, 19-06895, 19-06894):

   Johnson, Jennifer (19-01292):             American Honda Motor Co., Inc. (19-
   Gretchen F. Cappio                        04256, 19-06895, 19-06896, 19-06894, 19-
   Ryan P. McDevitt                          06898, 19-07097, 19-01376, 19-00846, 19-
                                             00970, 19-00963, 19-01403, 19-01566):
                                             Eric S. Mattson
                                             Simone Jones
                                             Doug Bishop
   Baldwin, Ryan et al. (19-01376):          Honda of America Mfg., Inc. (19-04256,
                                             19-00846, 19-00970, 19-06895, 19-06894,
                                             19-00963, 19-01403, 19-01566):

   Berry, Christopher et al. (19-01403):     Honda R&D Co., Ltd. (19-04256, 19-
   Stacey P. Slaughter                       00970, 19-06895, 19-00963):
   Austin Hurt

   Smith, Alice et al. (19-01515):           Toyota Motor Corp. (19-04256, 19-06895,
                                             19-06894, 19-06900, 19-07608; 19-00963):
   Hamilton Livery Leasing LLC (19-01459):   Toyota Motor Sales, U.S.A., Inc. (19-
                                             04256, 19-06895, 19-06896, 19-06894, 19-
                                             06898, 19-07153, 19-07097, 19-06200, 19-
                                             07608, 19-00846, 19-01376, 19-00963, 19-
                                             01403, 19-01566):
                                             Michael L. Mallow
                                             Rachel A. Straus
                                             Amir M. Nassihi
                                             Mark V. Berry
                                             Vincent Galvin, Jr.
                                             Sandra Rodriguez
                                             Dawn Collins

   Fuller, Joseph Sr. et al. (19-01566):     Toyota Motor Engineering and
                                             Manufacturing North America, Inc.
                                             (19-04256, 19-07608, 19-00846, 19-06895,
                                             19-06894, 19-00963, 19-01403, 19-01566):
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   Dellatorre, Bonnie et al. (19-02497):     Hyundai Motor America, Inc. (19-00782,
                                             19-00846, 19-00970, 19-06895, 19-06901,
                                             19-07292, 19-01154, 19-01403, 19-01566,
                                             19-01292):
                                             Caroline W. Van Ness
                                             Matthew J. Tako
                                             John H. Beisner

   Croft, Steve et al. (19-04256):           KIA Motor America, Inc. (19-00782, 19-
                                             00846, 19-06901, 19-06894, 19-06900, 19-
                                             07153, 19-07097, 19-01376, 19-01154, 19-
                                             01403, 19-01566, 19-01292):

   Aquino, Matthew (19-06200):               Honda R and D Americas, Inc. (19-
   Christopher E. Stiner                     04256, 19-00846, 19-01403, 19-01566):

   Santos, Adalgisa et al. (19-06895):       Hyundai Motor Group (19-00846, 19-
                                             00970, 19-06895, 19-07292, 19-00963):

   Copley, Thomas et al. (19-06901):         Hyundai Motor Co. (19-00846, 19-00970,
                                             19-07292):

   Payne, Thomas et al. (19-06894):          Hyundai Mobis Co. Ltd. (19-00846, 19-
                                             07292, 19-00963):
                                             Christopher M. Young
                                             Matthew A. Goldberg
                                             Justin Park
   Samouris, Gary et al. (19-06896):         KIA Motors Corporation (19-00846, 19-
                                             06894, 19-00963):

   Rubio, Sigfredo et al. (19-06898):        FCA US LLC (19-00846, 19-06899, 19-
   Adam J. Levitt                            06900, 19-06898, 19-07153, 19-07097, 19-
   John E. Tangren                           01376, 19-01515, 19-00963):
                                             Stephen A. D’Aunoy

   Heilman-Ryan, Regina et al. (19-06899):   Toyota Motor North America, Inc. (19-
                                             00846, 19-01403, 19-01566):

   Radi, David et al. (19-06900):            Hyundai Motor America (19-06894, 19-
                                             06900, 19-07153, 19-07097, 19-01376, 19-
                                             00963):

   Underwood, Robert A. (19-07097):          American Honda Motor Co. (19-07153):
   Patricia C. Guerra
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   Van Ness, Michael (19-07153):         Mitsubishi Motors North America Inc.
   Joshua D. Samra                       (19-07153, 19-07097, 19-01376, 19-01515,
                                         19-00963, 19-01566):
                                         Douglas W. Robinson
                                         Erica M. Sorosky

   Hauser, William (19-07292):           Hyundai Motor Co., Ltd. (19-0096):

   Lawrence, Kaya (19-07608):            KIA Motors America (19-00963):

                                         Mobis Parts America, LLC (19-2905)

                                         Mitsubishi Motors Corporation (19-
                                         2905

                                         STMicroelectronics N.V. (19-2905)
                                         Thomas F.A. Hetherington
                                         Kendall J. Burr
                                         Katherine Chambers

                                         STMicroelectronics International N.V.
                                         (19-2905)
                                         Robert P. Debelak III

                                         STMicroelectronics, Inc.

                                         Fiat Chrysler Automobiles N.V. (19-
                                         02905)
                                         Thomas J. Murray

                                         Mitsubishi Motors America, Inc. (19-
                                         01376):

                                         Acura (19-01515):

                                         ZF Holdings B.V. (19-2905)

   Eric Pearson
   Nickolaus Buchholz
